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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

Gilbert Flores                          §    CIVIL ACTION NO.
      Plaintiff,                        §    4:25−cv−00431
                                        §
                                        §
   vs.                                  §    JUDGE CHARLES ESKRIDGE
                                        §
                                        §
LoanDepot.com, LLC                      §
     Defendant.                         §


                             NOTICE OF RESETTING
               Take notice that the Initial Conference set for 4/24/2025,
          has been RESET as follows:

                     Tuesday, May 13, 2025, at 03:30 PM
                    Before the Honorable Charles Eskridge
                          United States District Judge
                   United States District Court, Courtroom 9F
                                515 Rusk Street
                             Houston, Texas 77002
